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  13
                          UNITED STATES DISTRICT COURT
  14
                        CENTRAL DISTRICT OF CALIFORNIA
  15
  16
       EVA SOLIS, individually and on         Case No. 2:19–cv–10181–PSG–AFM
  17   behalf of all others similarly
  18   situated,                              DEFENDANT AMERICAN
                                              AIRLINES, INC.’S NOTICE OF
  19                    Plaintiff,            MOTION AND MOTION FOR
                                              JUDGMENT ON THE PLEADINGS
  20         v.
                                              Filed Concurrently: Notice of Motion and
  21   AMERICAN AIRLINES, INC., and           Motion; Memorandum of Points and
       DOES 1–100, inclusive,                 Authorities;[Proposed] Order; Request
  22                                          for Judicial Notice
                        Defendants.
  23                                          Judge: Hon. Philip S. Gutierrez
  24                                          Hearing Date: July 9, 2021
                                              Time: 1:30 PM
  25                                          Courtroom: 6A
  26                                          Complaint Served: January 29, 2020

  27
  28
                                                       DEF.’S MOTION FOR JUDGMENT ON THE
                                                          PLEADINGS; 2:19-CV-10181-PSG-AFM
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   1   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on Friday, July 9, 2021 at 1:30 p.m., or as
   3   soon as the matter may be heard, in Courtroom 6A of this Court, located at First
   4   Street Courthouse, 350 West 1st Street, Sixth Floor, Los Angeles, California
   5   90012-4565, Defendant American Airlines, Inc. (“American”) will and hereby does
   6   move for an order of judgment against Plaintiff on her Fifth, Sixth, and Ninth
   7   Claims, on the grounds that: (1) American was not required under Wage Order 9 or
   8   California Labor Code § 1174 to record the start and end times of Plaintiff’s meal
   9   periods; (2) Plaintiff is exempt from the overtime provisions of California Labor
  10   Code § 510 and Wage Order 9 after December 1, 2015; and (3) Plaintiff is exempt
  11   from the overtime provisions of the federal Fair Labor Standards Act.
  12         This Motion is made pursuant to Federal Rule of Civil Procedure 12(c) and is
  13   based upon this Notice of Motion and Motion, the Memorandum of Points and
  14   Authorities, the Request for Judicial Notice, the Declaration of Kelly Wood in
  15   Support of Request for Judicial Notice and the exhibits attached thereto, the
  16   argument of counsel, all of the pleadings and other papers on file in this action, and
  17   such other matters as may be presented at the hearing on this Motion or prior to the
  18   Court’s decision.   This Motion is made following the required conference of
  19   counsel. Pursuant to L.R. 7-3, a conference between Defendant’s and Plaintiff’s
  20   counsel took place on April 23, 2021.
  21
             Dated: June 2, 2021.                    O’MELVENY & MYERS LLP
  22                                                 MICHAEL G. MCGUINNESS
                                                     KELLY WOOD
  23                                                 ALLAN W. GUSTIN
  24
                                                     By:     /s/ Michael G. McGuinness
  25                                                       Michael G. McGuinness
  26                                                 Attorneys for Defendant
                                                     AMERICAN AIRLINES, INC.
  27
  28
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         In this putative class and collective action, Plaintiff Eva Solis (“Plaintiff”), a
   4   Customer Service Agent at Ontario International Airport (“ONT”), asserts a variety
   5   of wage and hour claims against her employer, Defendant American Airlines, Inc.
   6   (“American”). Plaintiff’s claims are based on alleged violations of the California
   7   Labor Code, Industrial Welfare Commission (“IWC”) Wage Order 9, and the
   8   federal Fair Labor Standards Act (“FLSA”).         Solis seeks to represent all non-
   9   exempt California employees of American, other than flight attendants and pilots.
  10   The operative First Amended Complaint (“FAC”) contains deficient legal theories
  11   alleging that American failed to record the start and end times of Plaintiff’s meal
  12   periods and pay overtime wages. Because California law does not require that
  13   American record the time that employees leave for and return from their meal
  14   periods, and because Plaintiff is exempt from the relevant overtime protections of
  15   California law, the Court should enter judgment against Plaintiff on her Fifth and
  16   Sixth Claims and related requests for injunctive relief.
  17         First, Plaintiff asserts that American violated Wage Order 9 and California
  18   Labor Code § 1174 by failing to record the start and end times of her meal periods.
  19   (FAC ¶¶ 16, 21, 22, 53, 59, 64, 73, 89.) Neither Labor Code § 1174 nor Wage
  20   Order 9 contains such a requirement.           Accordingly, American is entitled to
  21   judgment as a matter of law on Plaintiff’s Fifth Claim for Failure to Maintain
  22   Accurate Payroll Time Records and related requests for injunctive relief “requiring
  23   Defendant to keep track of the beginning and end times for all meal breaks” (see
  24   FAC ¶¶ 59, 64, 75).
  25         Second, Plaintiff asserts that she was not paid overtime for all hours worked
  26   during “all relevant time periods after January 1, 2000” in violation of California
  27   Labor Code § 510 and Wage Order 9. (FAC ¶ 79; see also id. ¶¶ 25, 29, 35, 76-83.)
  28   Because her employment was governed by a collective bargaining agreement
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   1   (“CBA”) entered into pursuant to the Railway Labor Act, 45 U.S.C. § 151 et seq.
   2   (“RLA”) beginning on December 1, 2015, Plaintiff is not entitled to overtime either
   3   under Wage Order 9 or California Labor Code § 510 at any time after the CBA
   4   became effective. Ward v. American Airlines, Inc., 9 Cal. 5th 732, 747-48 (2020);
   5   Angeles v. US Airways, Inc., 790 F. App’x 878, 880 (9th Cir. 2020). Accordingly,
   6   Plaintiff’s claims for overtime compensation pursuant to California law after
   7   December 1, 2015 fail as a matter of law, and American is entitled to judgment on
   8   Plaintiff’s Sixth Claim for Failure to Pay Overtime and Minimum Wages.
   9         Finally, Plaintiff alleges that she and Collective Action Members are entitled
  10   to overtime compensation under the federal Fair Labor Standards Act (“FLSA”).
  11   But the FLSA’s overtime provisions do “not apply with respect to ... any employee
  12   of a carrier by air subject to the provisions of Title II of the Railway Labor Act.”
  13   29 U.S.C. § 213(b)(3).     Because Plaintiff and Collective Action Members are
  14   employees of an air carrier, American is entitled to judgment on Plaintiff’s Ninth
  15   Cause of Action for overtime compensation under the FLSA.
  16   II.   FACTUAL BACKGROUND
  17         The following factual assertions are taken from the FAC and are assumed to
  18   be true solely for purposes of this motion.
  19         Plaintiff is employed by American as a Customer Service Agent at ONT.
  20   (FAC ¶ 4.) The terms and conditions of her employment are governed by a CBA
  21   between the CWA-IBT Association and American. (See Req. for Judicial Notice
  22   (“RJN”), Ex. A, filed concurrently herewith.)
  23         On November 29, 2019, Plaintiff filed her initial complaint asserting 11
  24   causes of action against American for alleged violations of the California Labor
  25   Code, Wage Order 9, and the FLSA. (Dkt. No. 1.) On March 19, 2020, Plaintiff
  26   filed the operative FAC, asserting claims against American for: (1) failure to
  27   provide meal breaks and rest periods and associated meal break and rest period
  28   premium wages in violation of California Labor Code §§ 226.7 and 512; (2) failure
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   1   to provide adequate pay stubs in violation of California Labor Code § 226;
   2   (3) failure to reimburse employees for business-related expenses in violation of
   3   California Labor Code § 2802; (4) unlawful deductions from her wages in violation
   4   of California Labor Code §§ 221 and 224; (5) failure to maintain accurate payroll
   5   records in violation of California Labor Code § 1174 and IWC Wage Order 9; (6)
   6   failure to pay overtime and minimum wages in violation of California Labor Code
   7   §§ 510, 1194, 1197, and IWC Wage Order 9; (7) violation of the Los Angeles
   8   Living Wage Ordinance, Division 10, Chapter 1, Article 11, Section 10.37 et seq.
   9   of the City of Los Angeles Administrative Code (the “LAX LWO”); (8) violation
  10   of California Business and Professions Code § 17200 et seq.; (9) failure to pay
  11   overtime and/or minimum wage compensation in violation of the FLSA; and
  12   (10) failure to provide a compliant sick leave policy in violation of California Labor
  13   Code §§ 233 and 234. (Dkt. No. 13.)
  14          In her Fifth Claim, Plaintiff alleges that American “has violated California
  15   Labor Code section 1174 and Wage Order No. 9 by willfully failing to keep
  16   required payroll records showing the start-time and end time of meal periods
  17   provided to Plaintiff.” (FAC ¶ 73.) In her Sixth Claim, Plaintiff alleges that during
  18   “all relevant time periods after January 1, 2000, Labor Code section 510 applied to
  19   Plaintiff” and that American failed to pay her overtime compensation for all hours
  20   worked in excess of eight hours in a day, or forty hours in a week, in violation of
  21   California Labor Code § 510 and Wage Order 9. (FAC ¶ 79.) Similarly, in her
  22   Ninth Claim, Plaintiff alleges that American has violated the overtime provisions of
  23   the FLSA.
  24   III.   ARGUMENT
  25          A.    Legal Standard
  26          Federal Rule of Civil Procedure 12(c) permits a party to move for judgment
  27   on the pleadings “[a]fter the pleadings are closed—but early enough not to delay
  28   trial.” Fed. R. Civ. P. 12(c). It is “common to apply Rule 12(c) to individual
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    1   causes of action.” Strigliabotti v. Franklin Res., Inc., 398 F. Supp. 2d 1094, 1097
    2   (N.D. Cal. 2005); see also Bingue v. Prunchak, 512 F.3d 1169, 1171-72, 1178 (9th
    3   Cir. 2008). “Judgment on the pleadings is properly granted when there is no issue
    4   of material fact in dispute, and the moving party is entitled to judgment as a matter
    5   of law.” Fleming v. Pickard, 581 F.3d 922, 925 (9th Cir. 2009). “Analysis under
    6   Rule 12(c) is ‘substantially identical’ to analysis under Rule 12(b)(6) because,
    7   under both rules, ‘a court must determine whether the facts alleged in the
    8   complaint, taken as true, entitle the plaintiff to a legal remedy.’” Chavez v. United
    9   States, 683 F.3d 1102, 1108 (9th Cir. 2012) (internal citation omitted). Moreover,
   10   “a court may dismiss [a] portion of [a] claim, while allowing the remainder to
   11   proceed.” Baird v. Becerra, 2020 WL 5107614, at *9 (E.D. Cal. Aug. 31, 2020)
   12   (dismissing claims “to the extent they rely” on a particular legal theory) (citing Hill
   13   v. Opus Corp., 841 F. Supp. 2d 1070, 1082 (C.D. Cal. 2011)).
   14         B.     Wage Order 9 Does Not Require Employers To Record The Start
                     And End Times Of Meal Periods.
   15
   16         Plaintiff asserts that Defendant “has violated the California Labor Code
   17   section 1174 and Wage Order No. 9 by willfully failing to keep required payroll
   18   records showing the start-time and end time of meal periods.”            (FAC ¶ 73.)
   19   California law, however, does not “require[] employers to record the actual times
   20   that employees begin and end each meal period.” Lopez v. G.A.T. Airline Ground
   21   Support, Inc., 2010 WL 2839417, at *3 (S.D. Cal. July 19, 2010); Schroeder v.
   22   Envoy Air, Inc., 2016 WL 11520388, at *13 (C.D. Cal. Sept. 27, 2016) (granting
   23   motion to dismiss and finding that plaintiffs failed to show that “section 1174 and
   24   IWC Wage Order 9 require employers to keep payroll records that include the start
   25   and end times of meal periods”). “Notably, Wage Order No. 9 expressly requires
   26   employers to record ‘when the employee begins and ends each work period,’ but
   27   does not specify that meal periods must also be recorded with that level of
   28   specificity. Rather, the regulation requires that ‘[m]eal periods, split shift intervals
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    1   and total daily hours worked shall also be recorded.’” Lopez, 2010 WL 2839417, at
    2   *3. Because American was not required to record or maintain the start and end
    3   times of employee meal periods, there can be no liability for its alleged failure to do
    4   so. The Court should therefore enter judgment in favor of American on Plaintiff’s
    5   Fifth Claim and related requests for injunctive relief “requiring Defendant to keep
    6   track of the beginning and end times for all meal breaks” (see FAC ¶¶ 59, 64, 75).
    7         C.     Plaintiff Is Not Entitled To Overtime Either Under Section 510 Of
                     The California Labor Code Or Wage Order 9 After December 1,
    8                2015.
    9         Plaintiff filed her original Complaint on November 29, 2019. (Dkt. No. 1.)
   10   The statute of limitations on Plaintiff’s overtime claim is four years, i.e., November
   11   29, 2015 to the present. Van v. Language Line Servs., Inc., 2016 WL 3143951, at
   12   *9 (N.D. Cal. June 6, 2016). Because Plaintiff became exempt from California’s
   13   overtime protections on December 1, 2015, Plaintiff may only pursue damages in
   14   connection with her overtime claim under California law for a two-day period.
   15   Plaintiff’s damages beyond those two days fail as a matter of law.
   16                1.    The RLA Exemption Applies To Plaintiff.
   17         In her Sixth Claim, Plaintiff alleges during “all relevant time periods after
   18   January 1, 2000, Labor Code section 510 applied to Plaintiff,” and that she was not
   19   compensated for all overtime hours worked in violation of California Labor Code
   20   § 510 and Wage Order 9. (FAC ¶ 76-83.) Wage Order 9, however, exempts from
   21   overtime “those employees who have entered into a collective bargaining
   22   agreement under and in accordance with the provisions of the Railway Labor Act,
   23   45 U.S.C. Sections 151 et seq.” Here, the union representing Plaintiff entered into
   24   a CBA with American under and in accordance with the provisions of the RLA,
   25   which became effective on December 1, 2015. (Decl. of Kelly Wood in Supp. of
   26   Req. for Judicial Notice in Supp. of Mot. for J. on the Pleadings (“Wood RJN
   27   Decl.”), Ex. A.) As explained below, Wage Order 9 exempts covered employees
   28   not only from the overtime requirements of the Wage Order, but also from the
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    1   overtime requirements of Labor Code § 510.
    2                2.    Labor Code Section 515(b) Authorizes The IWC To Retain
                           Wage Order Exemptions Applicable To California’s
    3                      Statutory Overtime Requirements.
    4         In California, employment relationships are governed by overlapping sources
    5   of authority: first, the California Labor Code enacted by the California Legislature
    6   and, second, a series of wage orders adopted by the IWC. Brinker Rest. Corp. v.
    7   Superior Court, 53 Cal. 4th 1004, 1026-27 (2012); see Collins v. Overnite Transp.
    8   Co., 105 Cal. App. 4th 171, 174 (2003) (“In the exercise of [its] quasi-legislative
    9   endeavor, the IWC has promulgated 15 wage orders” regulating the wages, hours,
   10   and working conditions of employees in California.). 1 Historically, the IWC wage
   11   orders required that overtime be paid for hours worked over eight in a day and forty
   12   in a week, but also provided a series of exemptions to these overtime requirements.
   13   Before 2000, the Labor Code did not contain specific overtime requirements—
   14   overtime was regulated solely by the wage orders. 2 This framework was altered in
   15   1998, when the IWC amended the wage orders to eliminate the requirement that
   16   overtime be paid for hours worked in excess of eight hours per day. See Collins,
   17   105 Cal. App. 4th at 176. In response to these 1998 wage order revisions, however,
   18   the California Assembly drafted the Eight-Hour-Day Restoration and Workplace
   19   Flexibility Act of 1999 (“AB60”) which amended the Labor Code to reinstate daily
   20   overtime as a statutory requirement. See AB60 (Knox), 1999 Cal ALS 134, 1999
   21   Cal AB 60, 1999 Cal Stats. ch. 134 (Cal. 1999) (hereinafter “AB60”). In addition,
   22
   23   1
          For example, some requirements and exemptions are common to both the Labor
   24   Code and the wage orders. Compare Cal. Lab. Code § 510 with Wage Order
        9-2001, § 3(A)(1); Cal. Lab. Code § 514 with Wage Order 9-2001, § 3(H). Other
   25   exemptions are found only in the wage orders, and may control over Labor Code
        requirements pursuant to Labor Code § 515(b). See Collins, 105 Cal. App. 4th at
   26   181 (concluding that the motor carrier exemption, found in numerous wage orders
        but not the Labor Code, exempted motor carriers from the overtime requirements of
   27   both
        2
             Wage Order 9 and the Labor Code).
          During this time, Labor Code § 510 provided only that “[e]ight hours of labor
   28   constitutes a day’s work, unless it is otherwise expressly stipulated by the parties to
        a contract ....”
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    1   AB60 nullified the 1998 versions of the IWC wage orders, including Wage Order
    2   9-98, and reinstated those versions that were in effect in 1997, including Wage
    3   Order 9-90. Id. § 21. As the California Division of Labor Standards Enforcement
    4   (“DLSE”) has explained, “[i]t is very important to understand ... [that] AB60 as a
    5   whole applies to all California workers except for those who are expressly
    6   exempted by the bill itself, or those who were expressly exempted from a
    7   pre-1998 wage order.” DLSE Mem. re: Understanding AB60: An In Depth Look
    8   at the Provisions of the “Eight Hour Day Restoration and Workplace Flexibility Act
    9   of      1999”     (Dec.     23,    1999)        (emphasis    added),     available    at
   10   http://www.dir.ca.gov/dlse/AB60update.htm.
   11           Though AB60 reinstated the daily overtime requirement, it retained the valid
   12   1997 exemptions. Specifically, AB60 added section 515(b) to the California Labor
   13   Code, preserving the IWC’s authority to “retain ... exemptions from the hours
   14   requirements that were contained in a valid wage order in effect in 1997.” See
   15   AB60 at Digest (emphasis added). Section 515(b) now states:
   16           Except as otherwise provided in this section and in subdivision (g) of
                Section 511, nothing in this section requires the commission to alter an
   17           exemption from provisions regulating hours of work that was
                contained in a valid wage order in effect in 1997. Except as otherwise
   18           provided in this division, the commission may review, retain, or
                eliminate an exemption from provisions regulating hours    of work that
   19           was contained in a valid wage order in effect in 1997. 3
   20
   21   3
            As originally adopted, Section 515(b) (eff. 2000 through 2012) stated:
   22         (1) The commission may establish additional exemptions to hours of
   23         work requirements under this division where it finds that hours or
              conditions may be prejudicial to the health or welfare of employees in
   24         any occupation, trade, or industry. This paragraph shall become
              inoperative on January 1, 2005.
   25         (2) Except as otherwise provided in this section and in subdivision (g) of
   26         Section 511, nothing in this section requires the commission to alter any
              exemption from provisions regulating hours of work that was contained
   27         in any valid wage order in effect in 1997. Except as otherwise provided
              in this division, the commission may review, retain, or eliminate an
   28         exemption from provisions regulating hours of work that was contained
              in a valid wage order in effect in 1997.
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    1         Collins v. Overnight Transportation Company, which dealt with the “motor
    2   carrier exemption” of Wage Order 9, is the lead case interpreting Labor Code
    3   § 515(b) and explains in detail that certain exemptions in the wage orders control
    4   over the Labor Code’s general overtime requirements. In Collins, plaintiff truck
    5   drivers brought a class action against their employer seeking compensation for
    6   allegedly unpaid overtime premised on violations of Labor Code § 510. 105 Cal.
    7   App. 4th at 173.     The Collins court held that Wage Order 9’s motor carrier
    8   exemption applied to the Labor Code’s overtime requirements even though the
    9   Labor Code itself did not provide a similar exemption. Id. at 180-81. The trial
   10   court granted the employer’s demurrer pursuant to Wage Order 9’s motor carrier
   11   exemption.    Id. at 173.   On appeal, plaintiffs argued that Labor Code § 510
   12   impliedly repealed Wage Order 9. Id. at 177. However, in affirming the trial court,
   13   the court of appeal reasoned that the plaintiffs’ interpretation would be “an absurd
   14   result.” Id. at 180. The court of appeal explained that there was no evidence that
   15   the Labor Code’s statutory requirements were intended to eliminate the wage
   16   orders’ historical exemptions. The court found that “[s]uch an interpretation would
   17   create separate and conflicting spheres of regulation by the IWC and the
   18   Legislature.” Id. at 180 n.4 This finding was compelled by the historical context
   19   of Labor Code § 515(b).
   20         The court in Collins recognized that the enactment of Section 515(b)
   21   preserved the authority of the IWC to retain exemptions to all of California’s
   22   overtime requirements. 105 Cal. App. 4th at 180 (“[AB60] codifie[d] certain
   23   provisions in wage orders,” such as Labor Code § 514, “and alter[d] other
   24   provisions but [did] not expressly address other broad areas of IWC regulations.”).
   25   Accordingly, Collins held that AB60 left intact exemptions from overtime
   26   provisions that were in effect in 1997.
   27         The reasoning in Collins is consistent with the view expressed by the DLSE,
   28   which found that under section 515(b) employees who were exempt in pre-1998
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    1   wage orders would remain exempt from the overtime requirements provided that
    2   the IWC retained the exemptions. See DLSE Mem., supra, (stating that AB60
    3   covered “workers who were not expressly exempted from pre-1998 wage orders,”
    4   not employees exempted by the wage orders that also met the requirements of
    5   Section 515(b)). Accordingly, to the extent a Wage Order exemption meets the
    6   requirements of Section 515(b), it shall continue to exempt employers from
    7   California’s statutory overtime requirements.
    8         Plaintiff does not contest that her alleged overtime damages before
    9   November 29, 2015 are barred by the applicable four-year statute of limitations.
   10   (See generally Pl.’s Opp. to Mot. to Strike.) She has further conceded that she is
   11   exempt from overtime under Wage Order 9 after December 1, 2015 in light of the
   12   collective bargaining agreement that covers her employment.          (Id. at 14:1‒2
   13   (“Plaintiff and other agents here are exempt from Sec. 3 [regulating overtime] under
   14   Sec. 1(E) of Wage Order 9.”).) The remaining dispute is therefore whether the
   15   RLA exemption in Section 1(E) of Wage Order 9 also exempts Plaintiff from the
   16   overtime provisions in Labor Code section 510 as a matter of law, and, as explained
   17   in the following section, it does.
   18                3.     The RLA Exemption Meets The Requirements Of Section
                            515(b) And, Therefore, Exempts Plaintiff From California’s
   19                       Statutory Overtime Protections.
   20         Wage Order 9’s RLA Exemption has been in continuous effect since before
   21   1997 and, therefore, meets the requirements of Section 515(b). The IWC first
   22   promulgated Wage Order 9 in 1976. (See Wood RJN Decl., Ex. B, Wage Order
   23   9-76.) Wage Order 9-76 stated that employees would be provided overtime for
   24   hours worked over eight hours in a day and forty hours in a week. (Id., Wage Order
   25   9-76, § 3.) Along with Wage Order 9-76’s overtime requirement, the IWC carved
   26   out exemptions to that requirement, including the RLA Exemption. As originally
   27   drafted in Wage Order 9-76, the RLA Exemption stated:
   28
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    1         Except as provided in Sections 4, 10, 11, 12, and 20 through 23, this
              Order shall not be deemed to cover those employees who have entered
    2         into a collective bargaining agreement under and in accordance with
              the provisions of the Railway Labor Act, 42 U.S.C. sections 151 et seq.
    3
    4   (Id., Wage Order 9-76, § 1(D).)
    5         The IWC’s exemption advanced the stated purposes of the RLA itself, to
    6   promote the independence of the airline industry and forbid limitations placed on
    7   the collective bargaining process. See 45 U.S.C. § 151a; see also Wood RJN Decl.,
    8   Ex. C, IWC Statement of Findings (1976) at 6 (stating that the RLA exemption was
    9   promulgated because the IWC “found that it would be difficult to enforce standards
   10   for employees crossing state lines and that the exempted employees were better
   11   protected by their [CBAs] pursuant to the [RLA]”). Nothing has changed to alter
   12   this original basis for the exemption, and the IWC’s subsequent revisions of Wage
   13   Order 9 in 1980, 1990, 1998, 2000, and 2001 have left the RLA Exemption
   14   substantively untouched. (See current Wage Order 9-2001 § 1(E); Wood RJN
   15   Decl., Ex. D, Wage Order 9-80, § 1(D); Wood RJN Decl., Ex. E, Wage Order 9-90,
   16   § 1(D); Wood RJN Decl., Ex. F, Wage Order 9-98, § 1(D); Wood RJN Decl., Ex.
   17   G, Wage Order 9-2000, § 1(D).)
   18         Accordingly, the RLA Exemption meets the requirements of Section 515(b):
   19   it was contained in a valid wage order in effect in 1997; and it was retained by the
   20   IWC in all subsequent revisions of Wage Order 9.         Indeed, the Ninth Circuit
   21   recently confirmed that, when workers are covered by a CBA entered into pursuant
   22   to the RLA, “the RLA exemption excuses [the airline employer] from both Wage
   23   Order 9’s overtime requirements and Section 510’s overtime requirements.”
   24   Angeles, 790 F. App’x at 880. The California Supreme Court also clarified this
   25   point in Ward v. American Airlines, Inc., 9 Cal. 5th 732 (2020). While holding that
   26   the RLA exemption did not bar a Labor Code Section 226 claim, the Court
   27   specifically cited Section 510 as an example of a Labor Code provision to which
   28   long-standing IWC exemptions should be applied, given the “meaningful[]”
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    1   statutory and regulatory context. Id. at 747‒48. Accordingly, and even assuming
    2   all facts alleged by Plaintiff are true, Plaintiff’s claim for overtime compensation
    3   under California Labor Code § 510 and Wage Order 9 after December 1, 2015 is
    4   legally insufficient.
    5         D.        Plaintiff Is Exempt From The Overtime Provisions Of The FLSA.
    6         In her Ninth Cause of Action under the FLSA, Plaintiff asserts that American
    7   has “failed to pay Plaintiff and Collective Action Members minimum wage and/or
    8   overtime compensation to which they are entitled.” (FAC ¶ 93.) But “the FLSA
    9   overtime provisions do not apply to Plaintiff because [s]he work[s] for an air
   10   carrier.” Kouchi v. American Airlines, Inc., 2019 WL 3059409, at *2 (C.D. Cal.
   11   Apr. 9, 2019) (citing 29 U.S.C. § 213(b)(3) (providing that the FLSA overtime
   12   provisions “shall not apply with respect to ... any employee of a carrier by air
   13   subject to the provisions of Title II of the Railway Labor Act”)). Plaintiff alleges
   14   that she is an employee of American, and the same is true for the putative collective
   15   action members. (FAC ¶¶ 4-6.) Because America is “a carrier by air subject to the
   16   provisions of Title II of the Railway Labor Act,” American is entitled to judgment
   17   as to Plaintiff’s claim for overtime compensation under the FLSA. (See RJN,
   18   Ex. A, at 2.)
   19   IV.   CONCLUSION
   20         For the reasons discussed above, the Court should grant judgment as a matter
   21   of law against Plaintiff on her Fifth Claim for Failure to Maintain Accurate Payroll
   22   Time Records; Sixth Claim for Failure to Pay Overtime and Minimum Wages
   23   under California Labor Code §§ 510, 1194, and 1197 and Wage Order 9, to the
   24   extent Plaintiff seeks to recover damages after December 1, 2015; and Ninth Cause
   25   of Action for overtime compensation pursuant to the FLSA.
   26
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